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                                                                 July 20, 2020

     VIA ECF
     Hon. Zahid N. Quraishi, U.S.M.J.
     Clarkson S. Fisher Federal Building
      and U.S. Courthouse
     402 E. State Street
     Trenton, New Jersey 08608

                Re:         UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                            Civil Action No. 19-17272 (MAS) (ZNQ)

     Dear Judge Quraishi:

             This firm is counsel of record for plaintiffs in the referenced matter. On January 17,
     2020, Stephanie Lopez, Esq., who at the time was an associate with the firm, entered her
     appearance for plaintiffs. (ECF No. 14). She has since left the firm. Accordingly, plaintiffs
     respectfully request leave of Court to withdraw Ms. Lopez’s appearance on their behalf.

            Ms. Lopez’s withdrawal will not cause any delay or disruption of these proceedings
     because plaintiffs continue to be represented by other attorneys from McElroy, Deutsch,
     Mulvaney & Carpenter, LLP, as well as by attorneys from our co-counsel, Stein Mitchell Beato
     & Missner LLP, who have been admitted pro hac vice.

            We have included a “So Ordered” provision at the end of this letter in the hope that this
     meets with Your Honor’s approval. We greatly appreciate the Court’s consideration of this
     request.
                                                              Respectfully yours,

                                              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP




                                                               GEORGE C. JONES

     cc:        All counsel (via ECF)

NEW JERSEY     NEW YORK        PENNSYLVANIA    CONNECTICUT   MASSACHUSETTS   COLORADO   DELAWARE   FLORIDA   RHODE ISLAND
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         MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
 Hon. Zahid N. Quraishi, U.S.M.J.
 July 20, 2020
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       SO ORDERED this _____ day of _______________, 2020.




                                      HONORABLE ZAHID N. QURAISHI
                                      United States Magistrate Judge
